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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION

KIRK MICHAEL FIELDS,

       Plaintiff,
                                                   CIVIL ACTION FILE
v.                                                 NO. 1:22-CV-3684-LMM-JKL

GWINNETT COUNTY
POLICE DEPARTMENT, et al.,

       Defendants.


   PLAINTIFF’S MOTION FOR EXTENSION OF TIME TO RESPOND TO
  MOTION TO DISMSS FROM DEFENDANTS GWINNETT COUNTY PO-
        LICE DEPARTMENT, STEWART, JOHNSON, & R. LEWIS

       Plaintiff Kirk Michael Fields seeks a 7-day extension of time to file his Re-

sponse in opposition to the Motion to Dismiss filed by Defendants Gwinnett

County Police Department, Stewart, Johnson, & R. Lewis on October 8, 2024 [Dkt.

87]. Counsel for Plaintiff states that counsel for Defendants has consented to this

extension.

       Under Local Rule 7.1B, Plaintiff’s response is currently due within fourteen

days, which would make the deadline October 22, 2024. Plaintiff respectfully re-

quests that the Court extend the deadline by 7 days to October 29, 2024. Notably,

this extension requests only applies to this Motion. Plaintiff expects to file his re-

sponse to the other pending Motions by the current deadline.



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      Pursuant to Federal Rule of Civil Procedure 6(b), there is good cause for this

reasonable and short extension of time given because (1) counsel for Plaintiff has

other case deadlines in the intervening days, and (2) Defendants’ Motion cited new

body camera footage that was not previously disclosed by the County pursuant to

Plaintiff’s counsel’s open record requests, and Plaintiff’s counsel needs additional

time to review the footage to adequately prepare a response.


                      [Signature appears on the following page.]




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        Respectfully submitted, this 16th day of October, 2024.

                                            /s/ E. Allen Page
                                            Amanda Kay Seals
                                            Georgia Bar No. 502720
                                            E. Allen Page
                                            Georgia Bar No. 640163
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                                            Attorneys for Plaintiff




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                              Certificate of Service

      I certify that on October 16th, 2024, I submitted the foregoing Plaintiff’s Mo-

tion for Extension of Time to Respond to Motion to Dismiss from Defendants

Gwinnett County Police Department, Stewart, Johnson, & R. Lewis via

the Court’s CM/ECF system, which will serve an electronic copy on all attorneys

of record.

                                           /s/ E. Allen Page
                                           E. Allen Page




                                      #5089131v1
                               Certificate of Service
